             Case 1:20-mj-00955-SCY Document 16 Filed 04/16/20 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                        Plaintiff,

vs.                                                                        No. 20-MJ-955


CHARLES JUSTICE,

                        Defendant.

                MOTION TO RECONSIDER ORDER OF DETENTION
      PENDING TRIAL AND TO ALLOW REASONABLE CONDITIONS OF RELEASE

        Charles Justice, by and through undersigned counsel, Joe M. Romero, Jr., Romero &

Winder, PC, moves this Court to reconsider its March 19, 2020 Order of Detention Pending Trial,

and allow Defendant’s release subject to reasonable conditions of release, and to set a hearing on

this motion.

        1.       Defendant is charged in a Criminal Complaint, No. 20-MJ-955 with Unlawful

Importation of a Firearm, in violation of 18 U.S.C. § 922(l) and Possession of an Unregistered

NFA Weapon (silencer), in violation of 26 U.S.C. § 5861(d). Neither of these related offenses

provide for a mandatory minimum sentence. The more serious offense, 26 U.S.C. § 5861(d),

provides a statutory maximum sentence of ten (10) years and, prior to any downward guideline

adjustments, a maximum guideline sentence of 63 to 78 months.

        2.       Defendant denies any intentional criminal conduct on his part. As a firearms

hobbyist, collector, and enthusiast, as well as someone who has safely handled and operated

firearms his entire life, Defendant lacked any intent to commit a crime. Throughout his life,
            Case 1:20-mj-00955-SCY Document 16 Filed 04/16/20 Page 2 of 4



Defendant has purchased only firearms or firearm related products that he understood or

reasonably believed to be lawfully sold products, in this case products that were advertised for

sale, online, by what he understood to be an American owned and operated company.

       3.       There is no evidence based on Defendant’s past history that suggests he is a flight

risk or danger to the community. Defendant is a 27-year-old native of Melbourne, Florida. He is

married to his high school sweetheart, Beatrice Ottomanelli. He and his wife have a one-year old

child. The Defendant has served on active duty with the U.S. Air Force since 5 May 2014, where

he works as a security control center supervisor at Kirtland Air Force Base. His current rank is E-

4 or Senior Airman. He possesses a security clearance level of “Secret” which, after a thorough

and intensive background investigation, authorizes the Defendant access to classified information

or access to sensitive government facilities.

       4.       Prior to his arrest on the pending federal Criminal Complaint, dated 16 March 2020,

Defendant was charged with identical offenses by military authorities pursuant to the Uniform

Code of Military Justice (UCMJ). After being initially detained in the UCMJ proceeding, a Pretrial

Confinement Review hearing (the equivalent of a release hearing) was held at Kirtland Air Force

Base on 26 February 2020. See Pretrial Confinement Review Memorandum, date 26 February

2020, attached hereto as Exhibit A.

       5.       After an extensive hearing, in which multiple family members and military

members testified, the hearing officer (Col. David Carlson) concluded that Defendant should be

release. In pertinent part, Col Carlson stated as follows:

       b. There is no indication SrA Justice is a flight risk. SrA Justice's wife and young
       child live on Kirtland Air Force Base which makes him less likely to flee the area
       (i.e. SrA Justice has ties to the locale). Additionally, according to the written
       statement of the Mrs. Ottomanelli, SrA Justice's wife, his passport was seized -
       and no contradictory evidence or testimony was admitted stating otherwise
       (attachment 12). There is also no indication that SrA Justice has a history of

                                                  2
            Case 1:20-mj-00955-SCY Document 16 Filed 04/16/20 Page 3 of 4



       failing to appear for other appointments.…First Sergeant, SMSgt Michael
       Rumora, testified he did not believe SrA Justice was a flight risk (see para 5(g)).
       Finally, several individuals with a close relationship to the SrA Justice- his
       spouse, Mrs. Jennifer Ottomanelli, SSgt Gardner, and TSgt Anderson- reiterated
       they did not believe SrA Justice was a flight risk. For example, his mother-in-law,
       Mrs. Jennifer Ottomanelli stated, "I am confident that he would never hurt anyone
       or flee from his circumstances. I am 100% certain that he is not a danger to his
       family or himself' (attachment 13). In short, there was no specific, articulable
       evidence presented indicating SrA Justice was a flight risk beyond the general
       nature of the allegations.

       c. By a preponderance of the evidence, I find that SrA Charles Justice is not likely
       to commit serious criminal misconduct if released from pretrial confinement. SrA
       Justice's closest friends, colleagues, and family members were unanimous that
       SrA Justice has never verbally or physically threatened others. SSgt Gardner and
       TSgt Anderson, who have both known him for four years, both stated that SrA
       Justice is a calm, level-headed person and they have no reason to believe he
       would harm others (see para. 5(c) and 5(d)).


See Pretrial Confinement Review Memorandum, at ¶ 6.b. and ¶ 6.c.

       6.       After the Pretrial Confinement Review hearing, Defendant returned to work and

was in full compliance with his conditions of release while his UCMJ case was pending. The only

change that occurred was that on or about 16 March 2020, Defendant was arrested and the same

charges that were pending in the UCMJ action were re-filed in U.S. District Court in the District

of New Mexico.

       7.       Given the aforementioned information, the Defendant Charles Justice contends, as

confirmed by his prior compliance with his UCMJ conditions of release, he does not pose a serious

risk of flight or of danger to the community and should be released on conditions deemed

appropriate and reasonable by the Court.

       8.       AUSA Jon K. Stanford opposes this motion.

       WHEREFORE Defendant Charles Justice respectfully requests this Court enter an Order

releasing him pending trial subject to reasonable conditions of release as deemed just and proper



                                                3
         Case 1:20-mj-00955-SCY Document 16 Filed 04/16/20 Page 4 of 4



by this Court.


                                            Respectfully Submitted,

                                            /s/ Joe M. Romero, Jr.
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                                    Certificate of Service

I hereby certify that, on April 16, 2020, the foregoing pleading was filed electronically
pursuant to CM/ECF procedures for the District of New Mexico, which caused the parties and/or
their counsel to be served by electronic transmission, as more fully reflected by the Notice of
Electronic Filing.

/s/ Joe M. Romero, Jr.
Joe M. Romero, Jr.




                                               4
